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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   TYLER DIVISION

UNITED STATES OF AMERICA                         §
                                                 §
v.                                               §   NO. 6:13-CR-61
                                                 §
JOHNNY HINES, JR.                                §


              GOVERNMENT’S NOTICE OF CHANGE OF ATTORNEY

        The United States hereby designates the following Assistant United States Attorney

as lead counsel in this case, and respectfully requests that the same be noted by the Clerk

of the Court and that this attorney be added to the list of counsel in this case to receive all

future notices, orders, and filings via the Court's CM/ECF system:

                                        James Mack Noble, IV
                                        Assistant United States Attorney
                                        Texas Bar No. 15050100
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                                             Respectfully submitted,

                                             JOSEPH D. BROWN
                                             UNITED STATES ATTORNEY



                                             JIM NOBLE
                                             Assistant United States Attorney
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                                 CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing Notice of Attorney Appearance has

been served on counsel of record for defendant via the court's CM/ECF system on this the

27th day of January, 2020.


                                             /s/ Jim Noble
                                             JIM NOBLE




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